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                                (Stipulating Parties Listed on Signature Pages)
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 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
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                                                         Master File No. 3:07-cv-05944-SC
12 In re: CATHODE RAY TUBE (CRT)
   ANTITRUST LITIGATION                                  MDL No. 1917
13
     This Document Relates to:                           Individual Case No. 3:11-cv-05514
14
                                                         STIPULATION AND [PROPOSED]
15 Target Corp., et al. v. Hitachi, Ltd., et al., Case   ORDER EXTENDING THE DEADLINE
     No. 3:11-CV-05514-SC
                                                         TO FILE MOTION TO COMPEL
16                                                       TARGET TO RESPOND TO CERTAIN
                                                         DEFENDANT DISCOVERY REQUESTS
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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE         MDL No. 1917
     MOTION TO COMPEL TARGET TO RESPOND TO CERTAIN OF DEFENDANTS’ DISCOVERY REQUESTS
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 1          This Stipulation and Proposed Order Extending the Deadline to File Motion to Compel
 2 Target to Respond to Certain of Defendants’ Discovery Requests between defendant Panasonic
 3 Corporation (“Panasonic”), on the one hand, and plaintiff Target Corporation (“Target”), on the
 4 other hand, is made with respect to the following facts and recitals:
 5          WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of
 6 fact discovery for September 5, 2014. See Dkt. No. 2459;
 7          WHEREAS, the deadline to file any motion to compel after the discover cut-off is
 8 September 12, 2014 (L.R. 37-3);
 9          WHEREAS, on April 11, 2014, defendants Panasonic and LG Electronics, Inc. served their
10 Second Set of Interrogatories on Target (“Panasonic’s Second Interrogatories”);
11          WHEREAS, on May 15, 2014, Target served its Responses to Panasonic’s Second
12 Interrogatories;
13          WHEREAS, on July 21, 2014, defendants Philips Electronics North America Corporation
14 and Toshiba Corporation served their First Set of Interrogatories on Target (“PENAC
15 Interrogatories”);
16          WHEREAS, on August 25, 2014, Target served its Responses to the PENAC Interrogatories;
17          WHEREAS, on September 9, 2014, counsel for the undersigned parties conferred in good

18 faith and agreed that Target will serve supplemental objections and responses to (i) Panasonic’s
19 Second Interrogatories Nos. 20 (g) and (h) and 24, and (ii) PENAC Interrogatories No. 9;
20          WHEREAS, Panasonic and Target have conferred by and through their counsel and, subject

21 to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:
22          1.     Target will serve revised responses to (i) Panasonic’s Second Interrogatories Nos. 20

23                 (g) and (h) and 24 and (ii) PENAC Interrogatories No. 9 by September 19, 2014.

24          2.     The undersigned parties agree to extend the deadline to file a motion to compel

25                 relating to Target's revised responses to the named discovery requests, to the extent

26                 one is deemed necessary by Panasonic, to September 26, 2014.

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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE         MDL No. 1917
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.




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             October 2, 2014
     Dated: _________________                _____________________________________




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 3                                           Hon. Samuel Conti
                                             United States District eCourt i
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 8 Date: September 12, 2014                  WEIL, GOTSHAL & MANGES LLP

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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE         MDL No. 1917
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14
            Pursuant to Local Rule 5-1(i)(3), the filer attests that concurrence in the filing of this
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     document has been obtained from each of the above signatories.
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